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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :      Case No.: 1:25-cr-00164
               v.                             :
                                              :
Emily Gabriella Sommer                :
                                              :
               Defendant.                     :


                                 NOTICE OF WITHDRAWAL

       The United States of America by and through its attorney, the United States Attorney for

the District of Columbia, informs the Court that Assistant United States Attorney Benjamin

Helfand, as counsel for the United States, is terminating their appearance as counsel of record in

this matter. All other government counsel noted on the docket at the time of this filing will remain

counsel for the United States.

                                              Respectfully submitted,

                                              JEANINE FERRIS PIRRO
                                              UNITED STATES ATTORNEY


                                              By:    /s/ Benjamin Helfand
                                                     Assistant United States Attorney
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